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                        UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


 IN RE:                                                  CASE NO.: 8:19-bk-05397-RCT

 RICHARD MICHAEL RANDALL                                 CHAPTER: 7
 and JULIA ELIZABETH DAWSON-
 RANDALL

      Debtor(s).
__________________________/


    RESPONSE TO DEBTOR’S MOTION TO EXTEND AUTOMATIC STAY [DE 9]

       Creditor, Wells Fargo Bank, N.A. (“Secured Creditor”), by and through the undersigned
counsel, hereby files this Response to Debtor’s Motion to Extend Automatic Stay [DE #9]; and in
support, respectfully alleges the following:
       1.      Creditor holds a secured mortgage on real property owned by Debtors, located at
6382 Torrington Circle Lakeland, Florida 33811 (the “Subject Property”).
       2.      The Secured Creditor initiated a foreclosure action in relation to the Subject
Property on June 30, 2016.
       3.      On September 19, 2016, Richard Michael Randall and Julia Elizabeth Dawson
Randall (“the Debtors”) filed for relief under Chapter 13 of the United States Bankruptcy Code,
[8:16-bk-08061-KRM] (the “Debtors First Bankruptcy”). This bankruptcy filing stopped Secured
Creditor’s jury trial which was set for September 26, 2016. On February 28, 2017, a dismissal
order was entered for failure to make plan payments.
       4.       Creditor obtained a foreclosure judgment on July 7, 2017; however, the Debtors
filed for bankruptcy the day before on July 6, 2017 [8:17-bk-05938-RCT] (the “Debtors’ Second
Bankruptcy”) which forced the Secured Creditor to cancel a foreclosure sale and vacate the final
judgment. On January 11, 2018, the bankruptcy case was dismissed again for failing to make plan
payments.
       5.      The Debtors filed another bankruptcy on June 29, 2018 [8:18-bk-05488-RCT] (the
“Debtors Third Bankruptcy”). On February 18, 2019; the case was dismissed, yet again, for
failure to maintain plan payments.
       6.      Lastly, the instant bankruptcy was filed under Chapter 7 of the United Bankruptcy
Code [8:19-bk-05397-RCT], (the “Debtors Fourth Bankruptcy”) on June 6, 2019.
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       7.      The Debtor’s conduct falls squarely within the parameters of §362(d)(4)(B) as the
Debtors have filed a total of four bankruptcy cases, each of which impeding the Secured Creditor’s
attempts to foreclosure on its collateral.
       8.      On June 12, 2019, the Debtor’s filed a Motion to Extend Automatic Stay [DE #9]
indicating the Debtor’s accept that they are unable to save their home and this case was filed to
liquidate their debts. As such, Secured Creditor requests language in the order on Debtor’s Motion
to Extend that the stay is lifted as to the Secured Creditor and two (2) years prospective relief to
allow the Secured Creditor to complete its foreclosure – especially considering that the Debtors
have given up on attempts to save the Subject Property.
       9.      Creditor reserves the right to supplement and/or amend this Response in the future.
       WHEREFORE, Wells Fargo Bank, N.A. respectfully requests that this Court enter an
Order Denying the Debtor’s Motion to Extend Automatic Stay, and award any and all other relief
that this Court deems just and appropriate.


                                                             /s/     Jeffrey S. Fraser, Esq.
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                         CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing was provided via
electronic and/or regular U.S. Mail to the parties on the attached service list, this 21st day of June,
2019, I served a copy of the foregoing upon:

SERVICE LIST
Richard Michael Randall
6382 Torrington Circle
Lakeland, FL 33811

Julia Elizabeth Dawson-Randall
6382 Torrington Circle
Lakeland, FL 33811

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Carolyn R. Chaney
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St. Petersburg, FL 33747

U.S. Trustee
United States Trustee - TPA7/13
Timberlake Annex, Suite 1200
501 E Polk Street
Tampa, FL 33602

                                                               /s/     Jeffrey S. Fraser, Esq.
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